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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION

INCARCERATED ENTERTAINMENT,
LLC,
                                                                 Case No: 8:16-cv-1302-T-35AAS
          Plaintiff,

v.


WARNER BROS. PICTURES, a
division of WB Studio Enterprises, Inc.,

      Defendants.
_________________________________________/

                         CERTIFICATE OF INTERESTED PERSONS
                        AND CORPORATE DISCLOSURE STATEMENT

I hereby disclose the following pursuant to this Court's interested persons order:

1.        The name of each person, attorney, association of persons, firm, law firm, partnership,
          and corporation that has or may have an interest in the outcome of this action - including
          subsidiaries, conglomerates, affiliates, parent corporations, publicly-traded companies
          that own 10% or more of a party's stock, and all other identifiable legal entities related to
          any party in the case:

          a.      Bajo, Cuva, Cohen & Turkel, P.A. (Counsel for Plaintiff)
          b.      Fee & Jeffries, P.A. (Counsel for Plaintiff)
          c.      Incarcerated Entertainment, LLC (Plaintiff)
          d.      Efraim Diveroli (member of Plaintiff)
          e.      Ross Reback (member of Plaintiff)
          f.      O’Melveny & Myers LLP (Counsel for Defendant)
          g.      Shutts & Bowen, LLP (Counsel for Defendant)
          h.      Warner Bros. Pictures, a division of WB Studio Enterprises, Inc. (Defendant)
2.        The name of every other entity whose publicly-traded stock, equity, or debt may be
          substantially affected by the outcome of the proceedings:

          None.



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3.        The name of every other entity which is likely to be an active participant in the
          proceedings, including the debtor and members of the creditors' committee (or twenty
          largest unsecured creditors) in bankruptcy cases:

          None.

4.        The name of each victim (individual or corporate) of civil and criminal conduct alleged to
          be wrongful, including every person who may be entitled to restitution:

          N/A

          I hereby certify that, except as disclosed above, I am unaware of any actual or potential

conflict of interest involving the district judge and magistrate judge assigned to this case, and

will immediately notify the Court in writing on learning of any such conflict.


                                               /s/ Brad F. Barrios
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                            CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on November 22, 2016, I electronically filed the foregoing
document with the Clerk of the Court using the CM/ECF filing system.

                                       /s/ Brad F. Barrios
                                       Attorney




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